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   March 8, 2022


   VIA FIRST CLASS MAIL
   Hon. Michael E. Hegarty
   United States Magistrate Judge
   United States District Court
   901 19th Street
   Denver, CO 80294

                            Re: Guzman Loera v. B. True, 1:21-cv-02794


   Your Honor:

           I’m sending this letter in hopes of getting clarity on whether there is any need have an
   additional summons and complaint signed for the U.S. Attorney’s Office for the District of
   Colorado. This Court’s order enlarging the time to effect service directs that the U.S. Attorney’s
   Office be served with a copy of the summons and complaint. But must my office serve a copy of
   the previously served summons, or am I required to serve an original signed by the clerk?

          Thank you for your consideration in this matter.




                                                             Sincerely,

                                                                        /s/
                                                              Mariel Colon Miro, Esq.




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